                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              CIVIL NO. 3:06-CR-151
 UNITED STATES OF AMERICA,                    )
                                              )
                Plaintiff,                    )
                                              )
        vs.                                   )                      ORDER
                                              )
 DAVID MICHAEL HENNESSEY,                     )
                                              )
                Defendant.                    )
                                              )

       THIS MATTER is before the Court on Defendant’s “Objection to Consolidation and/or

Motion for Relief from Prejudicial Joinder,” filed August 2, 2006. (Doc. No. 60). Defendant asserts

he never received an opportunity to object to the Government’s Motion to Consolidate because the

Government failed to serve a copy of the Motion on Defendant. This Court finds that Plaintiff did

not attach and has not filed a Certificate of Service to its Motion to Consolidate. (Doc. No. 30).

Defendant is entitled to present its objections to the Government’s motion to the Court. The Court

directs Defendant to electronically file his well-supported objections to the Motion to Consolidate

within fourteen (14) days from the date of this Order.

       IT IS, THEREFORE, ORDERED that Defendant shall file his objections to the

Government’s Motion to Consolidate within fourteen (14) days from the date of this Order.


                                              Signed: August 4, 2006




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